         Case 1:17-cv-11633-DJC Document 287 Filed 05/05/20 Page 1 of 5



                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE                                Civil Action No. 17-cv-11633
 COMMISSION,

                        Plaintiff,

        v.

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,

                        Defendants




                  DEFENDANTS’ MOTION FOR LEAVE TO FILE REPLY TO
                  PLAINTIFF’S OPPOSITION (DKT#286) TO DEFENDANTS’
                                  MOTION TO STAY


       Pursuant to Local Rule 7.1(b)(3) Defendants move for leave to file a short reply to the

SEC’s Opposition to Defendants’ Motion to Stay these proceedings. (DKT#286) A reply is

requested to point out the SEC’s erroneous assertions that the pending appeal is not proper- it is.

Knitted Fabrics Inc. v. Amalgamated Cotton Garment and Allied Industries Fund 967 F2d. 688,

690 (1st Cir. 1992); SEC v. Citigroup Global Markets Inc. 752 F3d. 285, 293 (2nd Cir. 2014)

       The SEC also mischaracterizes the importance of the pending United States Supreme

Court case of Liu v. Securities and Exchange Commission 140 S. Ct. 451 (2019); Liu v. SEC

2019 WL 2354737 (S. Ct. May 31, 2019) and Kokesh v. SEC 137 S. Ct. 1635, 1644 (2017)

which call into serious doubt the SEC’s claim of a right to seek a penalty of “disgorgement” for


                                                 1
         Case 1:17-cv-11633-DJC Document 287 Filed 05/05/20 Page 2 of 5



“violations” of the securities laws. The Supreme Court would never have granted the writ for

certiorari if the SEC’s authority to seek disgorgement was not seriously in doubt, especially after

its Kokesh decision. It makes no sense to proceed with a decision on the SEC’s request for $28

million in “disgorgement” when the Supreme Court is currently deciding the very issue of

whether the SEC can even seek disgorgement of any amount.

       A short reply is also necessary to point out the SEC’s disingenuous argument that its $28

million disgorgement request is not an essential element of the SEC’s opposition. The SEC

wants this Court to exercise continuing jurisdiction, which it no longer has, to rule on a $28

million disgorgement (and prejudgment interest) request (or any disgorgement amount) which

this Court almost certainly has no legal authority to award, especially when the very issue of

whether disgorgement is even an authorized “remedy” is currently being decided by the Supreme

Court. Marshel v. AFW Fabric Corp. 552 F2d. 471, 472 (2nd Cir. 1977); Bechtel Corp. v. Local

215 Laborers Intn’l Union 544 F2d 1207, 1215 (3rd Cir. 1976); Beydoun v. Holder 2015 WL

631948 at *3-4 (E.D. Mich., February 13, 2015); Amazing Raisins International Inc. v. Ocean

Spray Cranberries Inc. 2008 WL 11510854 *1 (D. Mass. August 16, 2008) citing Air Turbine

Tech Inc. v. Atlas Copco 2004 WL 3778793 at *5 (S.D. FL. April 20, 2004)




                                                 2
         Case 1:17-cv-11633-DJC Document 287 Filed 05/05/20 Page 3 of 5



       Defendants request leave to file a short reply to address these issues and other SEC

mischaracterizations regarding- counsel’s April 13, 2020 letter to this Court notifying it of the

filing of an appeal; no restitution; no harm to “markets” or clients, etc.- so this Court can be fully

and fairly apprised of the law and facts.




                                               Respectfully submitted,



DATED: May 5, 2020                             LAW OFFICES OF SAMUEL KORNHAUSER
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                                                  3
         Case 1:17-cv-11633-DJC Document 287 Filed 05/05/20 Page 4 of 5



              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1


       Pursuant to Local Rule 7.1, the undersigned met and conferred on May 5, 2020 with

Plaintiff’s counsel by exchange of emails to request assent to Defendants’ Motion for Leave to

File a Reply. Plaintiff’s counsel would not assent to Defendants’ motion.




DATED: May 5, 2020          LAW OFFICES OF SAMUEL KORNHAUSER



                                             By:    /s/ Samuel Kornhauser
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                                                4
         Case 1:17-cv-11633-DJC Document 287 Filed 05/05/20 Page 5 of 5



                                 CERTIFICATE OF SERVICE

       I certify that on May 5, 2020, a copy of the foregoing was electronically filed through the

ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: May 5, 2020                                    /s/ Dan Cowan
                                                          Dan Cowan




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